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                              UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                                         CRIMINAL MINUTE SHEET
USA v.       Alison Renee Marshall                                                         Mag. Judge: Sally J. Berens

    CASE NUMBER                         DATE                 TIME (begin/end)              PLACE                   INTERPRETER


 1:22-cr-00007-HYJ                     1/31/2022             3:34 PM - 3:56 PM          Grand Rapids


APPEARANCES:
Government:                                                 Defendant:                                     Counsel Designation:
Raymond E. Beckering, III                                   Robert J. Andretz                              Retained


           OFFENSE LEVEL                                   CHARGING DOCUMENT/COUNTS                           CHARGING DOCUMENT
                                                                                                            Read
Felony                                        Indictment                                                    Reading Waived

             TYPE OF HEARING                                           DOCUMENTS                             CHANGE OF PLEA

✔   First Appearance                                 ✔   Defendant's Rights                        Guilty Plea to Count(s)
✔   Arraignment:                                         Waiver of                                 of the
           mute              nolo contendre              Consent to Mag. Judge for
                             guilty                                                                Count(s) to be dismissed at sentencing:
       ✔   not guilty
                                                         Other:
✔   Initial Pretrial Conference
                                                                                                   Presentence Report:
    Detention           (waived    )                                                                      Ordered      Waived
    Preliminary     (waived        )                 Court to Issue:                                   Plea Accepted by the Court
    Rule 5 Proceeding                                   Report & Recommendation
                                                                                                       No Written Plea Agreement
    Revocation/SRV/PV                                   Order of Detention
                                                        Order to file IPTC Statements
    Bond Violation                                                                                       EXPEDITED RESOLUTION
                                                        Bindover Order
    Change of Plea                                      Order Appointing Counsel                       Case appears appropriate for
    Sentencing                                       ✔ Other:
                                                                                                       expedited resolution
    Other:                                           Rule 5(f) Order


                         ADDITIONAL INFORMATION                                                       SENTENCING
                                                                                Imprisonment:
                                                                                Probation:
                                                                                Supervised Release:
                                                                                Fine: $
                                                                                Restitution: $
                                                                                Special Assessment: $
                                                                                Plea Agreement Accepted:             Yes    No
                                                                                Defendant informed of right to appeal:         Yes    No
                                                                                Counsel informed of obligation to file appeal:  Yes   No


                   CUSTODY/RELEASE STATUS                                                   BOND AMOUNT AND TYPE

Released on Bond                                                          $ 25,000.00                      Unsecured

CASE TO BE:             Referred to District Judge                        TYPE OF HEARING: Further Proceedings

Reporter/Recorder:            Digitally Recorded                          Courtroom Deputy:            J. Norton
